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                            Exhibit D

Potential Assumed and Assigned Contracts and Related Cure Amounts
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                                                               Assumed Events
                Counterparty                Counterparty Address                 Event Dates         Brief Description    Effective Date   Cure Amount
                                         Camp William B. Snyder (Boy
                                         Scouts of America)
                                         6100 Antioch Rd, Haymarket, VA
                                         20169
Camp William B. Snyder (Boy Scouts of
                                                                             May 30‐31, 2020      Virginia Venue         9/25/19                $25,000.00
America)                                 National Capital Area Council,
                                         BSA
                                         Attn: Mario Perez
                                         9190 Rockville Pike,
                                         Bethesda, MD 20814
                                         Chicago Rockford International
                                         Airport
                                         Attn: Michael Dunn
Chicago Rockford International Airport                                       August 22‐23, 2020   Chicago Venue          9/30/2019                   $0.00
                                         Greater Rockford Airport
                                         Authority
                                         2 Airport Cir, Rockford, IL 61109
                                         Lake Elsinore
                                         Attn: Mark Beskid
Lake Elsinore                                                                Nov 14‐15, 2020      So Cal Venue           9/30/19                $10,000.00
                                         500 Diamond Dr.
                                         Lake Elsinore, CA 92530
                                         Palmer Coking Coal Company
                                         Attn: William Kombol
Palmer Coking Coal Company                                                   Sept 19‐20, 2020     Seattle Venue          9/19/19                $13,879.00
                                         31407 WA‐169
                                         Black Diamond, WA 98010
                                         Raceway Park
                                         Attn: Michael Napoliello
                                         Old Bridge Township Raceway,
Raceway Park                                                                 Sept 12‐13, 2020     Tri‐State Venue        9/18/19               $110,000.00
                                         Inc.
                                         230 Pension Rd, Englishtown, NJ
                                         07726
                                         Wild Wings of Oneka
                                         Attn: Jeff Hughes
Wild Wings of Oneka                                                          July 11‐12, 2020     Twin Cities Venue      4/9/19                      $0.00
                                         9491 152nd St. N
                                         Hugo, MN 55038
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                                      Assumed Contracts
         Counterparty                     Counterparty Address                     Contract Type   Cure Amount

                             Amazon Web Services
AWS                          440 Terry Ave N                                 Software License          $3,000.00
                             Seattle, WA 98109
                             Black Tie Sports Ltd. (Croatia)
                             Attn: Marko Martinović
Black Tie Sports (Croatia)                                                   Licensee                     $0.00
                             Wangdun Road 135
                             SIP, Suzhou, China
                             Bynder
                             321 Summer Street
Bynder                                                                       Software License             $0.00
                             1st Floor
                             Boston, MA 02210
                             Cho TM Korea (South Korea)
                             Attn: Andrew Cho
Cho TM Korea (South Korea)                                                   Licensee                     $0.00
                             200 Winston Drive
                             Clifside Park, NJ 07010

                             Cloudingo
Cloudingo                    4004 Beltline Road, Suite 120                   Software License             $0.00
                             Dallas, TX 75001

                             Crescent Valley Pty Ltd (South Africa)
Crescent Valley Ltd (South   Attn: Andrew Douglas
                                                                             Licensee                     $0.00
Africa)                      35 Bell Cresent
                             Tokai, WC 7945, South Africa
                             Diffusion
                             Attn: Liz Duggan                                Vendor / Service
Diffusion                                                                                             $16,001.00
                             244 5th Avenue                                  Provider
                             New York, NY 10001
                             Dyehard Fan Supply
                             Attn: Scott Killian                             Vendor / Service
Dyehard Fan Supply                                                                                        $0.00
                             1001 West Fourth Street                         Provider
                             Winstom‐Salem, NC 27101
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                             Event Hub
                             Attn: Michael Bleu                               Sponsor / Revenue /
Event Hub                                                                                               $0.00
                             6523 California Avenue, Suite 148                Comm. Support
                             Seattle, WA 98136
                             Every Man Jack
                             Attn: Ritch Viola
                                                                              Sponsor / Revenue /
Every Man Jack               500 Tamal Plaza                                                            $0.00
                                                                              Comm. Support
                             Suite 505
                             Corte Madera, CA 94925
                             Github
Github                       88 Colin P Kelly Jr St                           Software License        $100.00
                             San Francisco, CA 94107
                             Google G‐Suite
G‐Suite                      1600 Amphitheatre Pkwy                           Software License          $0.00
                             Mountain View, CA 94043
                             Hamburger Asia (Singapore, Malaysia)
                             Attn: Miyeera Navaretna
                             Hamburger Asia Sdn. Bhd.
Hamburger Asia (Singapore,   Level 7, Oasis Wing,
                                                                              Licensee                  $0.00
Malaysia)                    Brunsfield, Oasis Tower 3, 2, Jalan PJU 1A/7A,
                             Oasis Square, Oasis Damansara
                             47301 Petaling Jaya, Selangor Darul Ehsan,
                             Malaysia
                             IBM/Silverpop
                             Attn: Mark Hetterly
IBM/Silverpop                                                                 Software License      $36,213.00
                             3 East 28th Street
                             New York, NY 10016
                             IMG (Australia)
                             Attn: Marcus Gale
IMG (Australia)              Level 8                                          Licensee                $635.00
                             580 St. Kilda Road
                             Melbourne, Victoria, Australia
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                            KHO Capital (Philippines)
                            Attn: Jake Zimmerman
                            KHO Capital
KHO Capital (Philippines)                                                    Licensee                  $0.00
                            832 A. Arnaiz Ave
                            2nd Floor
                            Makati, Philippines
                            Materialogic
                            Attn: A. Milton Cornwell                         Vendor / Service
Materialogic                                                                                       $22,543.14
                            3100 Corporate Exchange Ct.                      Provider
                            Bridgeton, MO 63044
                            Navy Federal Credit Union
                            Attn: Patty Valezuela Stover                     Sponsor / Revenue /
Navy Federal Credit Union                                                                              $0.00
                            820 Follin Lane                                  Comm. Support
                            Vienna, VA 22180

                            One Trust
                            Attn: Steve Rubenstein
One Trust                                                                    Software License       $6,336.00
                            1200 Abernathy Rd NE, Building 600
                            Atlanta, GA 30328

                            Pantheon
                            Attn: Job Gregory                                Vendor / Service
Pantheon                                                                                           $13,256.69
                            717 California Street                            Provider
                            San Francisco, CA 94108

                            Ponto Org Organizacao de Eventos Ltda (Brasil)
                            Attn: Henrique Gomes
Ponto Org Organizacao de
                            Rua Arrudas 245                                  Licensee                  $0.00
Eventos Ltda
                            Sala 05, Santa Lucia
                            Belo Horizante MG Brasil

                            Realize Massive (Italy)
                            Attn: Fabiana De Rosa
                            Realize S.R.L.
Realize Massive (Italy)                                                      Licensee                  $0.00
                            Piazza IV Novembre
                            4‐20124
                            Milano, Italy
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                            Rosterfy
                            Attn: Shannon Gove
Rosterfy                    2420 17th Street Tenant LLC                       Software License     $2,876.45
                            2420 17th St
                            Denver, CO 80202
                            RunIreland Ltd. (Ireland)
                            Attn: Ray O’Connor
RunIreland (Ireland)        Unit 3                                            Licensee                $0.00
                            Liosban Business Park, Tuam Road
                            Galway, Ireland

                            Ryder Leasing
                            Ryder Shared Services Center ‐ Customer Care      Vendor / Service
Ryder Leasing                                                                                         $0.00
                            6000 Windward Pkwy                                Provider
                            Alpharetta, GA 30005

                            Sabco Sports LLC (UAE, Oman, Bahrain, Pakistan,
                            Qatar)
Sabco Sports (UAE, Oman,    Attn: Nic Cartwright
                                                                              Licensee                $0.00
Bahrain, Pakistan, Qatar)   PO Box 3779
                            PC 112, Ruwi
                            Muscat, Sultanate of Oman

                            The TriFactory (Egypt)
                            Attn: Ayman Hakky
TriFactory (egypt)                                                            Licensee                $0.00
                            17 Mansour Mohamed Street
                            Zamalek, Cairo, Egypt 11211

                            Tough Mudder Bootcamp
                            Attn: John M. Cross, Jr., Britt Canady
                            Brooks Pierce
Tough Mudder Bootcamp                                                         Licensee                $0.00
                            2000 Renaissance Plaza
                            230 North Elm Street
                            Greensboro, NC 27401
                            Wondersauce
                            Attn: Megan Blake                                 Vendor / Service
Wondersauce                                                                                       $42,500.00
                            45 West 25th Street, 6th Floor                    Provider
                            New York, NY 10010
